Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 1 of 25 PagelD #: 31450

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

DEXCOM, INC.,

Plaintiff,
Vv.

C.A. No. 22-605 (KAJ)
ABBOTT DIABETES CARE INC., and
ABBOTT DIABETES CARE SALES CORP. (CONSOLIDATED)

Defendants.

 

ABBOTT DIABETES CARE INC.,

Plaintiff,
V.
C.A. No. 2]-1699 (KAJ)

DEXCOM, INC.,

Defendant.

 

FINAL JURY INSTRUCTIONS
, Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 2 of 25 PagelD #: 31451

 

 

 

 

TABLE OF CONTENTS
1 GENERAL 1... ...sscesscsssrscssssocsreoeenssecscsatscsssnensereacecenseacesensenessessees 3
D.1 0 INTRODUCTION 0.0. ccccceecsesseeeeesensessevscaseneesesnssneneessesaseeneesessenteeneeeeneas 3
1.2 EVIDENCE DEFINED 00000. cccccecceeeeresceeresseesesesneenrenseseesesssesectenesseennenees 4
1.3 CONSIDERATION OF EVIDENCE... cccccscecseeseneseetestensescensesseesesennees 5
1.4 CREDIBILITY OF WITNESSES. 000... ccc eseseeteseesseesnnessseseetestensens 6
1.5 EXPERT WITNESSES |... cccscsesscecesseesssesseesressesaseecessessesereacensenseserereenenes 7
1.6 DEPOSITION TESTIMONY ...........cccccccsscscersersssesseesenseeseesseseseecetertsersereeseees 8
1.7. STIPULATIONS OF FACT 0000. cccccecsccsstcssssseeseeerseseesesessccetneensansoessaesnsneens 9
1.8 |THE PARTIES AND THEIR CONTENTIONS ....0.....ccccseeseeerenetenetecnenees 10
1.9 BURDENS OF PROOB...00....ccccccccccsessscssseeseesseseessserrenscseseeeenenteeresesensensereees 11
2 THE CONTRACT CLAIMS. ....ccccssssrssssssssssssseesensonssscerserenssncessesenssssecesssscoscsssovorareosssees 12
2.1 CONTRACT DEFINED 000... seeeteerereeeseeseecsenneneneesentesneraceeetsesensenees 12
2.2 RESOLVING CONTRACTUAL AMBIGUITY ..........cccccssseseeteeetereeeesessons 13
2.3 ABBOTT’S LICENSE DEFENSE AND CLAIM FOR BREACH OF
THE LICENSE GRANT. ..........cccccsscsscessssssscesessecsenesenaeensegenscseenseseetansseraseneensenns 14
2.4 The Parties’ Respective Claims For Breach Of Dispute Resolution
ClAUSES .......cccscesescssssscesscesstceseesneceeeacosssssenuerccsuseessensesseeavesesnenssenensertaessaeeaseneeeonees 15
3 THE ALLEGEDLY LICENSED PATENT CLAIMG........s0000 ssceseseonsareacnes 16
3.1 = PATENT CLAIMS 0.00... cccccceeeceeescesessenssceeesecssessnsenennsseseeseeersecsesseeeseensenaes 16
3.2 INDEPENDENT AND DEPENDENT CLAIMG...........cccccccssesesesestsereeeneens 18
3.3. THE “FULLY SUPPORTED AND ENABLED” STANDARD..................04. 19
3.4 LEVEL OF ORDINARY SKILL... ccccseteetesteseeenestesenseesneeasneeresnanees 22
4 DELIBERATIONS AND VERDICT......ccscssssssoesssssceroseseseeee 23

ii
, Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 3 of 25 PagelD #: 31452

1 GENERAL
11 INTRODUCTION

Members of the jury, now it is time for me to instruct you on the law that you must follow

in deciding this case.
You will have a copy of these instructions with you in the jury room for your reference

during your deliberations. You will also have a verdict form, which will list the questions that you

must answer to decide this case, and your juror binder.
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 4 of 25 PagelD #: 31453

1.2 EVIDENCE DEFINED

You must make your decision based only on the evidence that you saw and heard here in
the courtroom. Do not let rumors, suspicions, or anything else that you may have seen or heard
outside of court influence your decision in any way. The evidence in this case includes only what
the witnesses said while they were testifying under oath (including deposition testimony that has
been played or read to you), the exhibits that I allowed into evidence, and any facts that the parties
agreed to by stipulation.

Nothing else is evidence. The lawyers’ statements and arguments are not evidence. Their
questions and objections are not evidence. My legal rulings are not evidence. None of my
comments or questions are evidence. The notes taken by any juror are not evidence.

Certain charts and graphics have been used to illustrate testimony from witnesses. Unless
I have specifically admitted them into evidence, these charts and graphics are not themselves

evidence even if they refer to, identify, or summarize evidence.
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 5 of 25 PagelD #: 31454

1.3 > CONSIDERATION OF EVIDENCE

You should use your common sense in weighing the evidence. Consider it in light of your
everyday experience with people and events and give it whatever weight you believe it deserves.
If your experience tells you that certain evidence reasonably leads to a conclusion, you are free to

reach that conclusion.
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 6 of 25 PagelD #: 31455

1.4 CREDIBILITY OF WITNESSES

In deciding what the facts are, you may have to decide what testimony you believe and
what testimony you do not believe. You are the sole judges of the credibility of the witnesses.
“Credibility” means whether a witness is worthy of belief. You may believe everything a witness
says or only part of it or none of it. In deciding what to believe, you may consider a number of
factors, including the following:

(1) the opportunity and ability of the witness to see or hear or know the things the witness
testified to;

(2) the quality of the witness’s understanding and memory;

(3) the witness’s manner while testifying;

(4) whether the witness has an interest in the outcome of the case or any motive, bias or
prejudice;

(5) whether the witness was contradicted by anything the witness said or wrote before trial
or by other evidence;

(6) how reasonable the witness’s testimony was when considered in the light of other
evidence that you believe; and

(7) any other factors that bear on believability.
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 7 of 25 PagelD #: 31456

1.5 EXPERT WITNESSES

You have heard testimony containing opinions from a number of expert witnesses. In
weighing this opinion testimony, you may consider their qualifications, the reasons for their
opinions, and the reliability of the information supporting those opinions, as well as the factors |
have previously mentioned for weighing the testimony of any other witness. The opinions of the
expert witnesses should receive whatever weight and credit, if any, you think appropriate, given
all the other evidence in the case.

In deciding whether to accept or rely upon the opinions of the expert witnesses, you may
consider any bias that they may have, including any bias that may arise from evidence that they

have been or will be paid for reviewing the case and testifying.
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 8 of 25 PagelD #: 31457

16 DEPOSITION TESTIMONY

During the trial, certain testimony was presented to you through depositions that were
played by video. The deposition testimony may have been edited to exclude irrelevant testimony,
as the parties had only a limited amount of time to present you with evidence. You should not
attribute any significance to the fact that the depositions may appear to have been edited. This
deposition testimony must be given the same consideration you would give it had the witness
personally appeared in court. Like the testimony of a live witness, the statements made in a
deposition are made under oath and are considered evidence that may be used to prove particular

facts.
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 9 of 25 PagelD #: 31458

1.7 STIPULATIONS OF FACT

The parties have stipulated that certain facts are true, and those stipulations have been read
to you during this trial. You must therefore treat these facts as having been proved for the purposes

of this case.
“Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 10 of 25 PagelD #: 31459

18 THE PARTIES AND THEIR CONTENTIONS

I will now review for you the positions of the parties that you will have to consider in
reaching your verdict.

Abbott contends that it has a license to DexCom’s patent claims that protects the activities
of Abbott and its affiliates. Abbott contends that this license is in the Settlement and License
Agreement, which we have referred to as the “SLA” or the “Agreement.”

Abbott claims that DexCom breached the Settlement and License Agreement in a number
of ways, including:

1. by obtaining certain patents that DexCom agreed not to obtain,

2. by initiating and maintaining a lawsuit accusing Abbott of patent infringement for

patent claims that Abbott contends were licensed under the SLA, and

3. by failing to engage in the dispute resolution process agreed to in the SLA.

Abbott also seeks a determination that the scope of the SLA’s license grant includes the
DexCom patent claims that you will be asked to address, which I will simply refer to as the
“DexCom patent claims.”

DexCom denies these claims. DexCom also contends that Abbott breached the SLA’s
dispute resolution clause.

Abbott denies DexCom’s allegation.

You will be asked to determine these issues according to instructions I will give you in a

moment.

10
“Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 11 of 25 PagelD #: 31460

19 BURDENS OF PROOF

In any legal action, facts must be proven by a required standard of evidence, known as the
“burden of proof.” In a contract case such as this, each party must prove its claims by a
preponderance of the evidence. When a party has the burden of proof by a preponderance of the
evidence, it means that you must be persuaded that what the party seeks to prove is more probably
true than not true. To put it differently, if you were to put the parties’ evidence relating to a
particular breach on opposite sides of a scale, the evidence supporting the assertions of the party
claiming the breach would have to make the scale tip somewhat to that party’s side.

Those of you who are familiar with criminal cases will have heard the term “proof beyond
a reasonable doubt.” That burden does not apply in a civil case and you, therefore, should put it
out of your mind in considering whether or not either party has met its “more likely than not”

burden of proof.

11
“Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 12 of 25 PagelD #: 31461

2 THE CONTRACT CLAIMS
2.1 CONTRACT DEFINED

A contract is a legally binding agreement between two or more parties. Each party to the
contract must perform according to the agreement's terms. A party’s failure to perform a
contractual duty constitutes breach of contract.

The SLA is a contract.

12
_Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 13 of 25 PagelD #: 31462

2.2. RESOLVING CONTRACTUAL AMBIGUITY

I have determined that the following term of the SLA is ambiguous and disputed:

e “ADC Products”

If the ambiguous provision is susceptible of two constructions, one of which makes it a
fair, customary, and reasonable contract that a prudent person would make, while the second
interpretation makes the contract inequitable, unusual, or one that a prudent person would likely
not make, then the first interpretation must be preferred. You should avoid adopting an
unreasonable interpretation that produces an absurd result or one that no reasonable person would
have accepted when entering the contract, unless you find that this was the parties’ intent.

To determine the parties’ intent regarding the ambiguous provision, you should look to the
construction given to the provision by the parties as shown through their conduct during the period
after the contract allegedly became effective and before the institution of this lawsuit. Subjective
understandings of a party to a contract which are not communicated to the other party are irrelevant
unless otherwise known to the other party or unless they should have been known to the other
party.

You may consider the overt statements and acts of the parties, the business context of the
agreement, prior dealings between the parties, and business custom and usage in the industry. You
may consider this evidence to interpret ambiguous contract language. You are only to use these
principles to resolve the party’s dispute as to “ADC Products.”

All other provisions at issue in this case are unambiguous and you must not consider any
of these factors in evaluating any other issue, such as determining breach or whether patents are

licensed. I will instruct you as to the meaning of some of these unambiguous provisions in these

instructions.

13
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 14 of 25 PagelD #: 31463

2.3. ABBOTT’S LICENSE DEFENSE AND CLAIM FOR BREACH OF THE LICENSE
GRANT

Abbott contends that it has a license to DexCom’s patent claims that either meet the
definition of “DexCom Licensed Patents” in J A.13 of the SLA, or were obtained in breach of the
warranty in J H.3 of the SLA, that protects it from DexCom’s claims of infringement. Abbott also
contends that DexCom breached that license by suing it for infringement of those claims.

{ C.2 of the SLA says that “subject to ADC’s material compliance with the terms and
conditions of this Agreement, DexCom hereby grants ADC a royalty-free, worldwide, non-
exclusive, non-sublicensable license under DexCom Licensed Patents to make, have made, use,
offer for sale, sell, distribute, import, and have imported ADC Products.” In addition, { H.3 of the
SLA says that, if DexCom obtains a patent claim in breach of the warranty in that provision, Abbott
shall be “deemed licensed to such claim on a royalty-free, non-exclusive and non-sublicensable
basis (i.e., consistent with Paragraph C.2 of the Agreement).”

Together, these clauses mean that Abbott has a royalty-free, non-exclusive and non-
sublicensable license under any patent claim that either meets the definition of “DexCom Licensed
Patents” in § A.13 of the SLA, or was obtained in breach of the warranty in { H.3 of the SLA, to
make, have made, use, offer for sale, sell, distribute, import, and have imported, any products that
meet the definition of “ADC Products” in | A.3 of the SLA.

It will be up to you to determine if any or all of DexCom’s patent claims are licensed to
Abbott because they fall within the definition of “DexCom Licensed Patents” in § A.13 of the SLA
or were obtained in breach of the warranty in § H.3 of the SLA, and whether DexCom breached

the license by suing Abbott for infringement of any such licensed claims.

14
“Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 15 of 25 PagelD #: 31464

2.4 The Parties’ Respective Claims For Breach Of Dispute Resolution Clauses

It will also be up to you to determine if each party breached the dispute resolution clause
in ¥J.1 of the SLA. The procedure specified in { J.1 applies in the event a dispute “arise[s] from,

under or relating to this Agreement.”

15
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 16 of 25 PagelD #: 31465

3 THE ALLEGEDLY LICENSED PATENT CLAIMS
3.1 PATENT CLAIMS

You need to understand the role of patent “claims.” The patent claims are the numbered
sentences at the end of each patent. The claims are important because it is the words of the claims
that define what a patent covers. The figures and text in the rest of the patent provide a description
and/or examples of the invention and provide a context for the claims, but it is the claims that
define the breadth of the patent’s coverage. Therefore, what a patent covers depends, in turn, on
what each of its claims covers.

To know what a claim covers, a claim sets forth, in words, a set of requirements. Each
claim sets forth its requirements in a single sentence. The requirements of a claim are often referred
to as “claim elements” or “claim limitations.” The coverage of a patent is assessed claim- by-claim.

You will first need to understand what each claim covers to resolve some of the questions
presented to you. The first step is to understand the meaning of the words used in the patent claim.

The law says that it is my role to provide definitions of terms of the claims and it is your
role to apply those definitions of the terms to the issues that you are asked to decide in this case.
You must accept the definitions of these words in the claims that I give you as being correct. It is
your job to take these definitions and apply them to the issues that you are deciding.

I will now tell you the meanings of the following words and groups of words from the

claims of the patents:

 

 

 

Patent’ | Term .- | Definition
215 “second function” “function that provides a predictive alert/alarm”
452 “durometer hardness” “Shore hardness, in accordance with ASTM D2240”

 

 

 

 

 

These definitions also appear in your jury binder.

16
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 17 of 25 PagelD #: 31466

The beginning portion, also known as the preamble, of a claim often uses the word
“comprising.” The word “comprising,” when used in the preamble, means “including but not
limited to” or “containing but not limited to.”

For any words in the claim for which I have not provided you with a definition, you should
apply the ordinary meaning of those terms in the field of the patent. You should not take any
definition of the language of the claims I have given you as an indication that I have a view
regarding how you should decide the issues that you are being asked to decide, such as whether a
claim in one of DexCom’s asserted patents is fully supported and enabled by a pre-2005 DexCom

patent or patent application, and therefore licensed to Abbott. These issues are yours to decide.

17
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 18 of 25 PagelD #: 31467

3.2. INDEPENDENT AND DEPENDENT CLAIMS

This case involves two types of patent claims: independent claims and dependent claims.

An “independent claim” sets forth all of the requirements that must be met in order to be
covered by that claim. Thus, it is not necessary to look at any other claim to determine what an
independent claim covers.

Other claims are “dependent claims.” A dependent claim does not itself recite all of the
requirements of the claim but refers to another claim for some of its requirements. In this way, the
claim “depends” on another claim. A dependent claim incorporates all of the requirements of the
claim(s) to which it refers. The dependent claim then adds its own additional requirements. To
determine what a dependent claim covers, it is necessary to look at both the dependent claim and

any other claim(s) to which it refers.

18
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 19 of 25 PagelD #: 31468

3.3 THE “FULLY SUPPORTED AND ENABLED” STANDARD

Abbott contends that the patent claims asserted by DexCom against it are licensed under
either Section A.13(c)(i) or H.3(i) of the SLA because the claims are fully supported and enabled
by a pre-2005 DexCom patent or patent application.

The SLA’s “fully supported and enabled” standard invokes the U.S. legal standard for
written description and enablement.

I will first describe the written description requirement.

The written description requirement is met for a given claim if the description in at least
one pre-2005 DexCom patent or patent application is sufficient to show that the inventor was in
possession of the full scope of the claimed invention in that claim. Abbott must establish the
written description requirement by a preponderance of the evidence.

In deciding whether the pre-2005 DexCom patent or patent application satisfies this written
description requirement, you must consider the description from the viewpoint of a person having
ordinary skill in the field of technology of the patent as of January 1, 2005. The specification of
the pre-2005 DexCom patent or patent application must describe the full scope of the claimed
invention, including each element thereof, either expressly or inherently. A claimed element is
disclosed inherently if a person having ordinary skill in the field as of the claim’s effective filing
date would have understood that the element is necessarily present in what the specification of the
pre-2005 DexCom patent or patent application discloses. It is not sufficient that the specification
of the pre-2005 DexCom patent or patent application discloses only enough to make the invention
in the later claim obvious to the person having ordinary skill.

The written description of the pre-2005 DexCom patent or patent application does not have
to be in the exact words of the later claim. The requirement may be satisfied by any combination

of the words, structures, figures, diagrams, formulas, etc., contained in the specification, or

19
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 20 of 25 PagelD #: 31469

disclosure, of the pre-2005 DexCom patent or patent application. Drawings alone may provide a
“written description” of an invention. Adequate written description does not require either
examples or an actual reduction to practice of the claimed invention. However, a mere wish or
plan for obtaining the claimed invention is not adequate written description. Rather, the level of
disclosure required depends on a variety of factors, such as the existing knowledge in the particular
field, the extent and content of the prior art, the maturity of the science or technology, and other
considerations appropriate to the subject matter.

I will next describe the enablement requirement.

To succeed in showing that an asserted claim is “enabled” by a pre-2005 DexCom patent
or patent application, Abbott must show by a preponderance of the evidence that the specification,
or disclosure, of the pre-2005 DexCom patent or patent application contains a sufficiently full and
clear description to have allowed a person having ordinary skill in the field of technology of the
later patent claim to make and use the full scope of the claimed invention in that claim as of
January 1, 2005 without undue experimentation.

The question of undue experimentation is a matter of degree, and what is required is that
the amount of experimentation not be “unduly extensive.” Some amount of experimentation to
make and use the invention is allowable. In deciding whether a person having ordinary skill would
have to experiment unduly in order to make and use the invention, you may consider several
factors:

(1) __ the time and cost of any necessary experimentation;

(2) how routine any necessary experimentation is in the field of continuous glucose

monitoring;

20
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 21 of 25 PagelD #: 31470

(3) whether the pre-2005 DexCom patent or patent application discloses specific
working examples of the claimed invention;

(4) the amount of guidance presented in the pre-2005 DexCom patent or patent
application;

(5) the nature and predictability of the field of continuous glucose monitoring;

(6) the level of ordinary skill in the field of continuous glucose monitoring; and

(7) the nature and scope of the claimed invention.

No one or more of these factors is alone dispositive. Rather, you must make your decision
about whether or not the degree of experimentation required is undue based upon all of the
evidence presented to you. You should weigh these factors and determine whether or not, in the
context of the claimed invention and the state of the art at the time of the effective filing date of
the claim, a person having ordinary skill would need to experiment unduly to make and use the
full scope of the claimed invention. Enablement does not require that a patent disclosure enable
one of ordinary skill in the art to make and use a commercially viable embodiment.

The relevant date for determining if an asserted claim is fully supported and enabled by a

pre-2005 DexCom patent or patent application is January 1, 2005.

21
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 22 of 25 PagelD #: 31471

3.4 LEVEL OF ORDINARY SKILL

In deciding what the level of ordinary skill in the field of continuous glucose monitoring
is, you should consider all the evidence introduced at trial, including but not limited to: (1) the
levels of education and experience of the inventor(s) and other persons actively working in the
field; (2) the types of problems encountered in the field; (3) prior art solutions to those problems;

(4) the rapidity with which innovations are made; and (5) the sophistication of the technology.

22
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 23 of 25 PagelD #: 31472

4 DELIBERATIONS AND VERDICT

When you retire to the jury room to deliberate, you may take with you these instructions,
your juror binder, and the exhibits that the Court has admitted into evidence. You should select
one member of the jury as your foreperson. That person will preside over the deliberations and
speak for you here in open court.

You have two main duties as jurors. The first one is to decide what the facts are from the
evidence that you saw and heard here in court. Deciding what the facts are is your job, not mine,
and nothing that I have said or done during this trial was meant to influence your decision about
the facts in any way.

Your second duty is to take the law that I give you, apply it to the facts, and decide if, under
the appropriate burden of proof, the parties have established their claims. It is my job to instruct
you about the law, and you are bound by the oath that you took at the beginning of the trial to
follow the instructions that I give you, even if you personally disagree with them. This includes
the instructions that I gave you before and during the trial, and these instructions. All the
instructions are important, and you should consider them together as a whole.

Perform these duties fairly. Do not let any bias, sympathy or prejudice that you may feel
toward one side or the other influence your decision in any way.

As jurors, you have a duty to consult with each other and to deliberate with the intention
of reaching a verdict. Each of you must decide the case for yourself, but only after a full and
impartial consideration of all of the evidence with your fellow jurors. Listen to each other carefully.
In the course of your deliberations, you should feel free to re-examine your own views and to
change your opinion based upon the evidence. But you should not give up your honest convictions
about the evidence just because of the opinions of your fellow jurors. Nor should you change your

mind just for the purpose of obtaining enough votes for a verdict.

23
7

_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 24 of 25 PagelD #: 31473

When you start deliberating, do not talk to the jury officer, to me or to anyone but each
other about the case. During your deliberations, you must not communicate with or provide any
information to anyone by any means about this case. You also must not use your electronic devices
to communicate with anyone about the case, or to conduct any research about this case until I
accept your verdict — including through electronic messaging or social media. You may not use
these electronic means to investigate or communicate about the case because it is important that
you decide this case based solely on the evidence presented in this courtroom. Information on the
internet or available through social media might be wrong, incomplete, or inaccurate. Information
that you might see on the internet or on social media has not been admitted into evidence and the
parties have not had a chance to discuss it with you. You should not seek or obtain such information
and it must not influence your decision in this case.

If you have any questions or messages for me, you must write them down on a piece of
paper, have the foreperson sign them, and give them to the jury officer. The officer will give them
to me, and I will respond as soon as I can. I may have to talk to the lawyers about what you have
asked, so it may take some time to get back to you.

One more thing about messages. Never write down or tell anyone how you stand on your
votes. For example, do not write down or tell anyone that a certain number is voting one way or
another. Your votes should stay secret until you are finished.

Your verdict must represent the considered judgment of each juror. In order for you as a
jury to return a verdict, each juror must agree to the verdict. Your verdict must be unanimous.

A form of verdict has been prepared for you. It has a series of questions for you to answer.
You will take this form to the jury room and when you have reached unanimous agreement as to

your verdict, you will fill it in, and have your foreperson date and sign the form. You will then

24
_ Case 1:22-cv-00605-KAJ Document 561 Filed 07/14/23 Page 25 of 25 PagelD #: 31474

return to the courtroom and your foreperson will give your verdict. Unless I direct you otherwise,
do not reveal your answers until you are discharged. After you have reached a verdict, you are not
required to talk with anyone about the case unless I order you to do so.

Once again, I want to remind you that nothing about my instructions and nothing about the
form of verdict is intended to suggest or convey in any way or manner what I think your verdict

should be. It is your sole and exclusive duty and responsibility to determine the verdict.

25
